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                                                                  USDC-SDNY
UNITED STATES DISTRICT COURT                                      DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                     ELECTRONICALLY FILED
                                                                  DOC#:
 GIORGI BULEISHVILI,                                              DATE FILED:

                             Plaintiff,
                                                                    20-CV-5626 (RA)
                        v.
                                                                         ORDER
 UNITED STATES OF AMERICA,

                             Defendant.



RONNIE ABRAMS, United States District Judge:

         On November 13, 2020, upon the withdrawal of his counsel, this Court provided Plaintiff until

December 28, 2020 to file a memorandum in support of his petition. Dkt. 16. To date, he has not done

so. If he seeks for the Court to rely on any additional information in adjudicating his petition, he must

submit this information no later than February 8, 2021. The Government shall submit its opposition, if

any, no later than March 1, 2021.

SO ORDERED.

Dated:      January 11, 2021
            New York, New York

                                                 RONNIE ABRAMS
                                                 United States District Judge
